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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                    EUGENE DIVISION

                                                Case No.: 6:17-cv-1124
AARON PERNELA,
                                                COMPLAINT;
               Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
       vs.                                      ACT (15 U.S.C. § 1692a, et seq.);

CASCADE COLLECTIONS, INC.,                      DEMAND FOR JURY TRIAL

               Defendant.
                                  I. INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”).

                                    II. JURISDICTION

       2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.

                                      III. PARTIES

       3.      Plaintiff, Aaron Pernela (“Plaintiff”), is a natural person residing in


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Deschutes County, Oregon.

       4.      Defendant, Cascade Collections, Inc. (“Defendant”), is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                             IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection with

the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to collect

a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways, including

the following.

       9.      Failing to effectively convey the disclosures required by 15 USC 1692g(a)

within 5 days of the initial communication with Plaintiff. Defendant obtained the debt

from a previous owner and began contacting Plaintiff other than in the form of a legal

pleading, and did not send Plaintiff a letter with notices required. (15 USC 1692g(a)).

       10.     Bringing a legal action against Plaintiff on a debt in a judicial district other

than the judicial district where Plaintiff signed the contract sued upon or the judicial district

in which Plaintiff resided at the commencement of the action, including filing for an

extension of judgment in a county other than the type listed (§ 1692i(a)(2)).


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       11.     As a result of the aforementioned violations, Plaintiff suffered and continues

to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental

anguish and severe emotional distress.

       12.     Defendant intended to cause, by means of the actions detailed above, injuries

to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and severe

emotional distress.

       13.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       14.     To the extent Defendant’s actions, detailed above, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       16.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 U.S.C. 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;


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      D.      Costs, disbursements and reasonable attorney’s fees for all successful claims,

and any unsuccessful claims arising out of the same transaction or occurrence as the

successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                               Dated this 20th day of July, 2017


                                                   By:_s/Joshua Trigsted______
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